        Case: 1:19-cv-01443 Document #: 64 Filed: 06/25/19 Page 1 of 2 PageID #:354




                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

SEKIGUCHI CO., LTD.,

         Plaintiff,                                        Case No.: 1:19-cv-1443

   v.                                                      Judge Matthew F. Kennelly

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                        NOTICE OF DISMISSAL

          Plaintiff hereby files this Notice of Voluntary Dismissal as to any remaining Defendants

that have not been subject to a prior Order entered by the Court, including any consent judgment

order, final judgment order, or a prior dismissal entered by the Court. All such Defendants are

hereby dismissed without prejudice.

          This terminates the action.

DATED: June 25, 2019                                  Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
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                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-01443 Document #: 64 Filed: 06/25/19 Page 2 of 2 PageID #:354




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 25, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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